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                                                          November 20, 2013
VIA ECF
Honorable Sandra J. Feuerstein
United States District Judge
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722-9014

          Re:          Leriche v. GC Services Limited Partnership
                       (Docket No. 13-CV-5167 (SJF) (WDW))

Dear Judge Feuerstein:

        We represent Defendant GC Services Limited Partnership ("Defendant") in the above-
referenced lawsuit and write on behalf of both parties to advise the Court that the parties have
settled the above-referenced matter. In light of the recent settlement, the parties respectfully
request that the Court cancel the initial conference scheduled for Monday, February 24, 2014.

       Finally, the parties respectfully request forty-five (45) days to finalize settlement and file
a voluntary notice of dismissal.

          We thank the Court for its consideration in this matter.

                                                                       Respectfully submitted,

                                                                       HINSHAW & CULBERTSON LLP

                                                                       By: s/Elizabeth K. Devine
                                                                         Elizabeth K. Devine (ED-0082)

cc:       M. Harvey Rephen, Esq. (Via ECF)




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